ctiso Case 22-50073 Doc 351 Filed 05/12/22 Entered 05/12/22 16:39:45 Page 1 at,
United States Bankruptcy Court
District of Connecticut
In re:
Ho Wan Kwok Case Number: 22-50073
Chapter: 11
Debtor*

ORDER GRANTING MOTION FOR EXPEDITED HEARING AND LIMITING NOTICE

Mei Guo (the "Movant"), having filed a Motion to Expedite Hearing and Limiting Notice (the
"Motion", ECF No. 343), in connection with a Motion for Protective Order (the "Protective Motion", ECF
No. 342), it appearing that the relief in the Motion should be granted; it is hereby

ORDERED: A hearing to consider the Protective Motion will be held on May 13, 2022, at
12:00 PM, at the United States Bankruptcy Court, 915 Lafayette Blvd., Bridgeport, CT 06604; and it is
further

ORDERED: Service of the Order Granting Motion for Expedited Hearing and Limiting Notice and
the Protective Motion must be made on all parties listed in the Motion on or before 7:00 PM on May 12,
2022: and it is further

ORDERED: A certificate of service demonstrating that the provisions of the Order Granting Motion
for Expedited Hearing and Limiting Notice have been complied with must be filed on or before May 13,
2022 by 10:00 AM.

Dated: May 12, 2022 BY THE COURT

Julie A. Manning —
United States Bankruptcy Judge
Dist rier Conngcticut

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United States Bankruptcy Court
District of Connecticut
915 Lafayette Boulevard
Bridgeport, CT 06604
* For the purposes of this order, "Debtor" means "Debtors" where applicable.
